     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 1 of 8


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 5
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 6
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9
10    WAL-MART STORES, INC., a Delaware                    Case No. CIV F-04-5278 OWW DLB
11    corporation, and WAL-MART REAL
      ESTATE BUSINESS TRUST, a Delaware
12    Statutory Trust,                                     SECOND AMENDED PROTECTIVE
                                                           ORDER
13                              Plaintiffs,
14            v.

15    CITY OF TURLOCK, TURLOCK CITY
      COUNCIL, and DOES 1 through 10,
16    inclusive,
17
                                Defendants.
18
19                      The parties to this action hereby stipulate, by and through their respective attorneys
20    of record, to the entry of the following Amended Protective Order pursuant to Rule 26(c) of the
21    Federal Rules of Civil Procedure:
22                      1.        Any document, or portion thereof, and any other form of evidence or
23    discovery contemplated under the Federal Rules of Civil Procedure which, in the good faith opinion
24    of the party providing such discovery (the “Producing Party”) contains any confidential financial
25    information and/or trade secret, proprietary, or confidential business information (“Confidential
26    Information”), may be designated by the producing party as confidential.
27    ///
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                                       [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 2 of 8


 1                      2.      The term “Litigation” used herein shall mean the present action pending in
 2    the Eastern District of California, Fresno Division, Wal-Mart Stores, Inc. et al. v. City of Turlock
 3    et al., Case No. CIV-F-04-5278 OWW DLB.
 4                      3.      Confidential Information may be designated as follows:
 5                              a.      Documents or copies of the same provided by a Producing Party to
 6    another party containing Confidential Information may be designated by marking the page or the
 7    pages on which the Confidential Information appears with the legend: “CONFIDENTIAL – to be
 8    used solely within the confines and for the purposes of Wal-Mart Stores, Inc. et al. v. City of
 9    Turlock et al., Case No. CIV-F-04-5278 OWW DLB.”
10                              b.      In lieu of marking the original of a document that contains
11    Confidential Information prior to inspection, counsel for the Producing Party may orally
12    designate such documents being produced for inspection as Confidential Information thereby
13    making them subject to this Stipulation and Order. However, copies of such documents must be
14    marked “CONFIDENTIAL – to be used solely within the confines and for the purposes of Wal-
15    Mart Stores, Inc. et al. v. City of Turlock et al., Case No. CIV-F-04-5278 OWW DLB,” by the
16    Producing Party at the time they are supplied to inspecting counsel in order to make such copies
17    subject to this Stipulation and Order.
18                              c.      Confidential Information disclosed at a deposition may be designated
19    by a Producing Party as Confidential Information by: (1) clearly indicating at the deposition and on
20    the record, as set forth below, the specific testimony containing the Confidential Information that is
21    to be made subject to the provisions of this Stipulation and Order; and (2) clearly indicating in
22    writing to the other parties within 40 days of the completion of the deposition.
23                              d.      Any designation of deposition transcripts as including Confidential
24    Information may be challenged pursuant to paragraph 9 of this Stipulation and Order. During the
25    course of any deposition in this Litigation, if any party believes that the information sought consists
26    of Confidential Information, that party may so declare. The court reporter will immediately note
27    this declaration on the record and will thereafter designate that portion of the transcript and/or
28    ///

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                                     [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 3 of 8


 1    document involved as Confidential Information and all such portions of transcripts supplied to
 2    counsel will be so designated.
 3                              e.      It will be counsel’s responsibility to assure that the Confidential
 4    Information portions of the depositions are not disclosed to anyone not authorized to receive
 5    Confidential Information pursuant to this Stipulation and Order. Exhibits marked as Confidential
 6    Information at any deposition will be sealed in a separate envelope that is marked on the outside
 7    “CONFIDENTIAL – to be used solely within the confines and for the purposes of Wal-Mart
 8    Stores, Inc. et al. v. City of Turlock et al., Case No. CIV-F-04-5278 OWW DLB.” The
 9    designating party shall have the right to have all persons, except those authorized to receive
10    Confidential Information pursuant to this Stipulation and Order, excluded from the deposition room
11    during the taking of testimony designated as subject to this Stipulation and Order.
12                              f.      Confidential Information contained in responses to interrogatories,
13    other discovery requests or responses, affidavits, briefs, memoranda, or other papers filed with the
14    Court, may be designated as Confidential Information by prominently marking each page
15    containing confidential Information with the legend “CONFIDENTIAL – to be used solely within
16    the confines and for the purposes of Wal-Mart Stores, Inc. et al. v. City of Turlock et al., Case
17    No. CIV-F-04-5278 OWW DLB.”
18                              g.      Tangible objects constituting or containing Confidential Information
19    may be designated Confidential Information by affixing to the object or its container a label or tag
20    marked “CONFIDENTIAL – to be used solely within the confines and for the purposes of Wal-
21    Mart Stores, Inc. et al. v. City of Turlock et al., Case No. CIV-F-04-5278 OWW DLB.”
22                              h.      The attorneys of record shall be responsible for insuring that any of
23    their work product which contains Confidential Information of another party entitled to protection
24    under this Order, including copies of production documents, notes, memoranda, and documents
25    prepared for filing with the Court, complies with this Stipulation and Order.
26                      4.      Confidential Information shall only be disclosed to and made available to the
27    following designated persons:
28    ///

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      {6167/041/00169041.DOC}

                                     [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 4 of 8


 1                              a.      The attorneys of record for each party to this action and their firm
 2    staff, including associates, paralegals, secretaries, and support staff and the like;
 3                              b.      Internal or external experts and/or consultants, provided such experts
 4    or consultants agree, in advance: (1) to be bound by this Stipulation and Order; (2) to use such
 5    Confidential Information solely within the confines and for the purposes of this Litigation; (3) to
 6    sign a Declaration agreeing to the terms of this Protective Order, and to provide a copy of such
 7    Declaration to each party hereto; and (4) that Confidential Information shall only be disclosed to
 8    attorneys, consultants, and/or experts in this litigation PROVIDED THAT such person has signed a
 9    Declaration agreeing to the terms of this Protective Order, and has provided a copy of such
10    Declaration to each party hereto.
11                              c.      Court stenographers, outside copy services, interpreters and
12    translators whose functions require them to have access to Confidential Information.
13                      5.      All Confidential Information produced or exchanged in the course of this
14    Litigation shall be used solely within the confines and for the purposes of this Litigation. No
15    Confidential Information shall be provided to anyone or any entity other than as specifically set
16    forth herein. In the event any request, subpoena, or other effort is made by a third party to obtain
17    Confidential Information other than those persons designated in paragraph 4 above, no such
18    Confidential Information shall be provided absent an order of this Court, and after due notice and an
19    opportunity for all parties to be heard by the Court prior to release of any such Confidential
20    Information.
21                      6.      The parties shall redact all Confidential Information from any documents
22    filed electronically with the Court. All filings containing Confidential Information shall be filed
23    electronically in redacted form in conformance with the requirements of Local Rule 39-140.
24                      7.      The Clerk of the Court is directed to maintain under seal and in camera all
25    Confidential Information, documents, objects and other materials filed with the Court that have been
26    designated as “CONFIDENTIAL – to be used solely within the confines and for the purposes of
27    Wal-Mart Stores, Inc. et al. v. City of Turlock et al., Case No. CIV-F-04-5278 OWW DLB.” To
28    assist the Clerk, any document or object that a party wishes to have placed under seal pursuant to

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      {6167/041/00169041.DOC}

                                     [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 5 of 8


 1    this Stipulation and Order shall be filed in the Clerk’s Office in a sealed envelope or other
 2    appropriate sealed container on which shall be: (1) endorsed with the title and docket number of this
 3    action; (2) an identification of the nature of the contents of the sealed envelope or container; (3) the
 4    words “CONFIDENTIAL – to be used solely within the confines and for the purposes of Wal-
 5    Mart Stores, Inc. et al. v. City of Turlock et al., Case No. CIV-F-04-5278 OWW DLB;” and (4) a
 6    statement substantially in the following form:
 7                     SUBJECT TO PROTECTIVE ORDER ENTERED IN CASE NO. CIV-F-
                       04-5278 OWW DLB, WAL-MART STORES, INC. et al. v. CITY OF
 8                     TURLOCK, et al. This envelope, containing documents that are filed in this
                       case by [name of party], is not to be opened nor are the contents thereof to be
 9                     displayed or revealed except by order or under the direction of the Court.
10                      A second copy of any pleading or paper specifically intended for review by the
11    Court may be hand-delivered to the Court’s chambers appropriately marked, in order to assure that
12    the same is brought promptly to the Court’s attention.
13                      8.      Nothing in this Order shall prevent a party from using any Confidential
14    Information at depositions, trial, or during a hearing in this litigation only. However, the party using
15    such information or material must request that the portion of the proceeding where said use is made
16    shall be in camera and that the transcript of the portion of the proceeding be maintained under seal
17    in camera in accordance with paragraph 7, with access thereto limited to persons entitled to access
18    under this Stipulation and Order. During the course of any hearing or the trial of this Litigation, if
19    any party believes that the information sought consists of Confidential Information, he or she may
20    so declare. The court reporter will immediately note said declaration on the record and will
21    thereafter designate that portion of the transcript and/or document involved as Confidential
22    Information and all such portions of transcripts supplied to counsel or the Court will be so
23    designated.     It will be all counsel’s responsibility to assure that the Confidential Information
24    portions of the depositions are not disclosed to anyone not authorized to receive Confidential
25    Information pursuant to this Stipulation and Order. Exhibits marked as Confidential Information at
26    any hearing or trial in this Litigation will be sealed in a separate envelope that is marked on the
27    outside “Confidential Information.” The designating party shall have the right to have all persons,
28    except those authorized to receive Confidential Information pursuant to this Stipulation and Order,

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                                   [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 6 of 8


 1    excluded from the courtroom during the taking of testimony designated as Confidential Information.
 2                      9.      Nothing herein shall be construed as (a) an agreement that any information
 3    or document designated as Confidential Information does in fact constitute confidential financial
 4    information or proprietary information; or (b) an agreement or admission with respect to the
 5    competency, relevance, or materiality of any such information or document. Designation of or
 6    acquiescence in the designation of documents or information as being subject to this Stipulation and
 7    Order has no bearing whatsoever on the merits of this case, and such action is not to be construed as
 8    an admission or used as evidence in the merits of the case.
 9                      10.     A party shall not be obligated to challenge the propriety of a Confidential
10    Information designation at the time made, and a failure to do so shall not preclude a subsequent
11    challenge thereto. In the event that any party to this Litigation disagrees at any point in these
12    proceedings with the designation by the producing party of any information as Confidential
13    Information, the parties shall try first to dispose of such dispute in good faith on an informal basis.
14    If the dispute cannot be resolved, the objecting party may seek appropriate relief from this Court.
15                      11.     Nothing herein shall prevent disclosure beyond the terms of this Stipulation
16    and Order if the producing party of Confidential Information consents in writing to such disclosure.
17    Such relief shall be sought, however, prior to the discovery cut-off date in this Litigation.
18                      12.     Nothing in this Stipulation and Order shall bar or otherwise restrict any
19    attorney from rendering advice to his client with respect to this litigation and, in the course of
20    rendering this advice, referring to or relying generally on his examination of Confidential
21    Information produced or exchanged; provided, however, that in rendering such advice and in
22    otherwise communicating with his client, the attorney shall not disclose the contents of any
23    Confidential Information produced by another party if that disclosure would be contrary to the terms
24    of this Stipulation and Order.
25                      13.     The inadvertent or unintentional disclosure of Confidential Information,
26    regardless of whether the information was so designated at the time of disclosure, shall not be
27    deemed a waiver in whole or in part of a party’s claim of confidentiality, either as to the specific
28    information disclosed or as to any other information relating to the same or related subject matter.

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                                    [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 7 of 8


 1    Such inadvertent or unintentional disclosure may be rectified by notifying in writing the counsel of
 2    record for all parties to whom the information was disclosed that the information is confidential and
 3    subject to this Stipulation and Order.        Such notification shall constitute a designation of the
 4    information as Confidential Information.
 5                      14.     Within sixty (60) days after the conclusion of this action and all appeals
 6    thereof, all documents, objects, and other material produced or designated as containing
 7    Confidential Information, all reproductions thereof, and all documents incorporating Confidential
 8    Information shall be returned to the producing party or shall be destroyed. If all such documents,
 9    objects and other materials are destroyed rather than returned to the producing party, counsel
10    responsible for destruction of such documents, objects, and materials shall provide a sworn
11    statement acknowledging such destruction. Insofar as the provisions of this and any other Protective
12    Orders entered in this action restrict the communication and use of information produced
13    thereunder, such Orders shall continue to be binding after the conclusion of this Litigation except (a)
14    that there shall be no restriction on documents that are used as exhibits in Court (unless such
15    exhibits were filed under seal); and (b) that a party may seek the written permission of the
16    producing party or further order of the Court with respect to dissolution or modification of any such
17    protective orders.
18                      15.     The terms of this Stipulation and Order shall be applicable to any third party
19    who produces information which is designated by such third party or a party hereto as Confidential
20    Information.
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                                    [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
     Case 1:04-cv-05278-OWW-DLB Document 81 Filed 06/03/05 Page 8 of 8


 1                      16.     This Stipulation and Order shall not prevent either of the parties from
 2    applying to the Court for further or additional protective orders, or for the modification of the
 3    present Stipulation and Order. This Stipulation and Order also shall not prevent the parties from
 4    agreeing among themselves to the modification of the present Stipulation and Order, subject to the
 5    approval of the Court.
 6
 7    DATED: May _4_, 2005.                   SAGASER, JONES & HAHESY
 8
 9
10                                                   By: /s/ John P. Kinsey
                                                        John P. Kinsey, Attorneys for Plaintiffs Wal-
11                                                      Mart Stores, Inc. and Wal-Mart Real Estate
                                                        Business Trust
12
13    DATED: May _2_, 2005.                   JARVIS, FAY & DOPORTO LLP
14
15
16                                                   By: _/s/ Benjamin P. Fay
                                                        Benjamin Fay, Attorneys for Defendants the
17                                                      City of Turlock and the Turlock City Council
18
      DATED: May _2_, 2005.                   HERUM, CRABTREE & BROWN
19
20
21
                                                     By: /s/ Jennifer Scott
22                                                      Jennifer Scott, Attorneys for Save Mart
                                                        Supermarkets
23
24                      IT IS SO ORDERED.
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26                                                   /s/ OLIVER W. WANGER
      DATED: MAY 10, 2005
27                                                             The Honorable Oliver W. Wanger
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                                   [PROPOSED] SECOND AMENDED PROTECTIVE ORDER
